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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                    20 Civ. 2903 (KPF)
In re
                                                          ORDER
GE/CBPS DATA BREACH LITIGATION

KATHERINE POLK FAILLA, District Judge:

        The Court held a pretrial conference in this matter on October 21, 2020.

In accordance with the Court’s discussion with the parties during that

conference, the Court hereby sets the briefing schedule for Defendants’

combined motion to compel arbitration with respect to Plaintiff Baz’s claims

and motion to stay proceedings with respect to Plaintiff Fowler’s claims as

follows: Defendants will file their combined motion to compel and motion to

stay on or before November 5, 2020; Plaintiffs’ opposition is due on or before

December 21, 2020; and Defendants’ reply is due January 8, 2021.

        SO ORDERED.

Dated: October 21, 2020
       New York, New York

                                               KATHERINE POLK FAILLA
                                              United States District Judge
